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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA

KATHRYN FRANKOLA                                                     CIVIL ACTION NO.

VERSUS                                                               NUMBER: 15-5933

BOARD OF SUPERVISORS OF LOUISIANA                                    SECTION: “H”(5)
STATE UNIVERSITY, ET AL.

                        ORDER SCHEDULING SETTLEMENT CONFERENCE

        A settlement conference in the above matter is hereby SCHEDULED for March 9, 2017

at 10:00 a.m. before Magistrate Judge Michael B. North, Room B419, Hale Boggs Building,

500 Poydras Street, New Orleans, Louisiana.

        The parties shall be prepared to enter into meaningful and good-faith settlement

negotiations at the conference. Any party appearing without authority to negotiate, or

without the ability to contact a client with full and ultimate settlement authority

readily throughout the settlement conference, may be sanctioned.

        Each party shall provide, in confidence, a concise settlement memorandum, which

shall include a brief description of (1) any liability disputes, (2) the key evidence the party

expects to produce at trial, (3) the damages at issue in the case, (4) the party’s settlement

position1 and (5) any other special issues that may have a material bearing upon settlement

discussions (e.g., outstanding liens, particularly contentious litigation history, related

litigation in another forum, etc.). This memorandum shall be submitted at least two (2) full

business days before the conference. The memorandum shall include the case number,

case name, and be no longer than five pages double-spaced. The memorandum shall be


1  “Settlement position” means something more than just an argument about the merits of your case or a
statement concerning the amount or terms of an outstanding demand or offer. For the Court and parties to be
successful in the limited time provided for this settlement conference, you should provide the Court with a clear
understanding of your and your client’s actual evaluation of the case and an idea of where you believe the case
should settle. Lawyers whose cases settle at the conference invariably include this information in their
memoranda.
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emailed directly to: efile-north@laed.uscourts.gov. The email subject line should read:

"Settlement Position Paper for [case number] on [date of conference].” Do not mail

hard copies of the settlement memorandum to chambers.

       Settlement conferences conducted by this Court are generally scheduled for 2-3 hours

and may be one of two or three such sessions in a given day. Consequently, lengthy opening

sessions/statements or the “dog-and-pony shows” typical of some private mediations will

generally not be entertained by the Court. That is the purpose of the settlement memoranda.

That is also why counsel for the parties are strongly encouraged to engage in preliminary

discussions with an eye toward meaningfully narrowing their dispute(s) before appearing

before the Court. Counsel are also advised – and are asked to advise their client(s) – that

during the conference they should expect that the Court will devote substantial time to

separate caucuses with each party and may also have discussions with counsel alone.

       It is the duty of the plaintiff(s) to notify this Court if trial is continued or if this case is

settled or otherwise disposed of prior to the date of the scheduled settlement conference, so

that the matter may be removed from the Court’s docket.

       Prior to the conference, the Plaintiff(s) is/are to have made a settlement

proposal and the Defendant(s) is/are to have responded to that demand.

       New Orleans, Louisiana, this 9th day of                  February               , 2017.


                                                 ____________________________________________________
                                                               MICHAEL B. NORTH
                                                      UNITED STATES MAGISTRATE JUDGE

                       [A photo ID is required to enter the Courthouse.]




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